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                         UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO
                          Bankruptcy Judge Thomas B. McNamara


  In re:
                                                    Bankruptcy Case No. 19-10286 TBM
  11380 SMITH RD, LLC,                              Chapter 7

  Debtor.


  11380 EAST SMITH RD INVESTMENTS, LLC,
  Movant

  v.

  11380 SMITH RD, LLC,
  Respondent.
______________________________________________________________________

  ORDER GRANTING 11380 EAST SMITH RD INVESTMENTS, LLC MOTION FOR
                          RELIEF FROM STAY
______________________________________________________________________

       Pursuant to and in accordance with the findings and conclusions rendered on the
record on February 14, 2019 by the Honorable Thomas B. McNamara, it is:

      ORDERED that the Motion for Relief from Stay (Docket No. 11) filed by 11380 East
Smith RD Investments, LLC (the “Lender”) is GRANTED as set forth herein;

       FURTHER ORDERED that the stay of 11 U.S.C. § 362(a) is lifted as to the real
property commonly known as 11380 East Smith Road, Aurora, Colorado 80010 (the
“Property”) to permit the Lender to pursue its rights and remedies at state law with respect
to the Property, including but not limited to, foreclosure and sale of the Property by the
Public Trustee of Adams County, Colorado;

       FURTHER ORDERED that this Court’s Order granting the Lender relief from stay
is effective immediately and the stay provided for in Fed. R. Bankr. P. 4001(a)(3) is
WAIVED in light of the Lender’s representations that it would not conduct its foreclosure sale of
the Property until on or after February 27, 2019.

       Dated this 15th day of February, 2019.
                                                    BY THE COURT:

                                                    ________________________________
                                                    Thomas B. McNamara
                                                    United States Bankruptcy Judge
